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6
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     United States of America,             ) Case No. 2:06-cr-00035-MCE
8              Plaintiff,                  )
          vs.                              )
9
                                           ) Stipulation and Order Re:
10
     Zachary Jenson,                       ) Defendant’s Release on
               Defendant                   ) Conditions
11                                         ))
                                           )
12                                         )
13

14         Zachary Jenson pled guilty on July 18, 2006 to one count

15   of Conspiracy in violation of 18 U.S.C. § 371. Mr. Jenson is
16
     currently on pre-trial release.        The parties agree and stipulate
17
     to the following condition:
18
          Mr. Jenson’s travel is restricted to the Western District
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20   of Washington (where he currently resides) and the Eastern

21   District of California (where his case is pending), without the
22
     prior approval of Pretrial Services.
23
     Dated: January 14, 2008                     Respectfully submitted,
24

25
                                                _/s/ Shari Rusk______
26
                                                Shari Rusk
                                                Attorney for Defendant
27                                              Zachary Jenson
28


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            Case 2:06-cr-00035-MCE Document 294 Filed 01/16/08 Page 2 of 2


     Dated: January 14, 2008                    /s/ Ellen Endrizzi
1
                                                Ellen Endrizzi
2                                               Assistant United States
                                                 Attorney
3

4
                                  ORDER
5
           It is so ordered that Zachary Jenson’s travel be restricted
6
     to the Western District of Washington and the Eastern District
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8    of California, unless otherwise approved by Pre-trial Services.

9
     Dated: January 15, 2008
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11
                                     __________________________________
                                     MORRISON C. ENGLAND, JR
12                                   UNITED STATES DISTRICT JUDGE
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